
17 N.Y.2d 818 (1966)
The People of the State of New York ex rel. John Bianchi, Appellant,
v.
J. Edwin La Vallee, as Warden of Auburn State Prison, Respondent.
Court of Appeals of the State of New York.
Submitted May 5, 1966.
Decided June 2, 1966.
John R. Coughlin for appellant.
Louis J. Lefkowitz, Attorney-General (Anthony J. Lokot of counsel), for respondent.
Concur: Chief Judge DESMOND and Judges FULD, VAN VOORHIS, BURKE, SCILEPPI, BERGAN and KEATING.
Order reversed and the criminal case remitted to the Nassau County Court for further proceedings upon relator's plea of guilty in accordance with section 335-b of the Code of Criminal Procedure. (See People ex rel. Manning v. Fay, 16 N Y 2d 1061; People ex rel. Colan v. La Vallee, 14 N Y 2d 83.) No opinion.
